AO 93C () :DUUDQWE\7HOHSKRQHRU2WKHU5HOLDEOH(OHFWURQLF0HDQV               u Original                u Duplicate Original


                                           UNITED STATES DISTRICT COURT
                                                                         for the
                                                             Eastern District
                                                          __________  DistrictofofWisconsin
                                                                                   __________

                  In the Matter of the Search of                            )
            (Briefly describe the property to be searched                   )
             or identify the person by name and address)                    )      Case No. 0 1-
    7210 W. Capitol Drive, Milwaukee, Wisconsin, to include all             )
   associated common spaces, basement, garage, outbuildings,
   and identified vehicles, as further described in Attachment A-1
                                                                            )
                                                                            )

                 :$55$17%<7(/(3+21(2527+(55(/,$%/((/(&7521,&0($16
To:       Any authorized law enforcement officer
           An application by a federal law enforcement officer or an attorney for the government requests the searchDQGVHL]XUH
of the following person or property located in the                         Eastern   District of            Wisconsin
(identify the person or describe the property to be searched and give its location):
  See Attachment A-1.




        I find that the affidavit(s), or any recorded testimony, establish probable cause to search and seize the person or property
described above, and that such search will reveal (identify the person or describe the property to be seized):
  See Attachment B.




        YOU ARE COMMANDED to execute this warrant on or before             0D\                 (not to exceed 14 days)
      ✔
      u in the daytime 6:00 a.m. to 10:00 p.m. u at any time in the day or night because good cause has been established.

        Unless delayed notice is authorized below, you must give a copy of the warrant and a receipt for the property taken to the
person from whom, or from whose premises, the property was taken, or leave the copy and receipt at the place where the
property was taken.
        The officer executing this warrant, or an officer present during the execution of the warrant, must prepare an inventory
as required by law and promptly return this warrant and inventory to                        Hon. Nancy Joseph                    .
                                                                                                  (United States Magistrate Judge)

     u Pursuant to 18 U.S.C. § 3103a(b), I find that immediate notification may have an adverse result listed in 18 U.S.C.
§ 2705 (except for delay of trial), and authorize the officer executing this warrant to delay notice to the person who, or whose
property, will be searched or seized (check the appropriate box)
     u for         days (not to exceed 30) u until, the facts justifying, the later
                                                                                 eerr sspecific
                                                                                        peecific date of
                                                                                        p                                              .

                                  # SP
Date and time issued:
                                                                                                          Judge’s
                                                                                                          JJu
                                                                                                            udge’’s si
                                                                                                                    signature
                                                                                                                     ignature

City and state: Milwaukee, Wisconsin                                                 Honorable Nancy Joseph, U.S. Magistrate Judge
                                                                                                        Printed name and title
                          Case 2:23-mj-00901-NJ                    Filed 04/21/23     Page 1 of 49          Document 1
AO 93& () :DUUDQWE\7HOHSKRQHRU2WKHU5HOLDEOH(OHFWURQLF0HDQV(Page 2)

                                                                             Return
Case No.:                                Date and time warrant executed:                 Copy of warrant and inventory left with:

Inventory made in the presence of :

Inventory of the property taken and name V of any person(s) seized:




                                                                         Certification


        I declare under penalty of perjury that this inventory is correct and was returned along with the original warrant to the
designated judge.



Date:
                                                                                                Executing officer’s signature


                                                                                                   Printed name and title




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                                      ATTACHMENT A-1

                                      Property to be searched

7210 W. Capitol Drive, Milwaukee, Wisconsin, to include all associated common spaces,

basement, garage, outbuildings, and vehicles to include a black 2021 Dodge Durango Hellcat with

VIN: 1C4SDJH90MC643328, a black 2019 Mercedes Benz GLE bearing WI Registration

ANP8319, a black Audi Q7 bearing WI Registration 344LXC, a gray 2014 Audi S7 bearing WI

Registration ASK355, a Black Audi Station wagon, and a black BMW 6 Series at this address.

This property is used by Rayvon Edwards. This address is further described as an automotive

repair shop/car dealership having blue and gray brick siding and green wood boards over the south

facing windows. The structure has two sets of east facing pedestrian glass doors that lead into the

main lobby of the auto shop and four overhead garage doors facing east leading into the auto

garage portion of the structure. The structure has the numbers “7210” posted over the east facing

pedestrian doors, which lead into the parking lot of the lot.




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        Case 2:23-mj-00901-NJ           Filed 04/21/23      Page 3 of 49    Document 1
                                        ATTACHMENT B

                                        Property to be seized

       All evidence, fruits, and instrumentalities of violations of Title 21, United States Code,

Section 841(a)(1) (Distribution of and possession with intent to distribute controlled substances)

and Section 846 (Conspiracy to possess with intent to distribute and to distribute controlled

substances), those violations involving Rayvon Edwards, including:

       1.      Controlled substances, controlled substance analogues, or listed chemicals;

        2.     Paraphernalia associated with the manufacture and distribution of controlled
substances including but not limited to materials and items used for packaging, processing,
diluting, weighing, and distributing controlled substances, such as scales, funnels, sifters, grinders,
glass panes and mirrors, razor blades, plastic bags, and heat-sealing devices;

        3.     Duffel, canvas bags, suitcases, safes, or other containers to hold or transport
controlled substances and drug trafficking related items and proceeds;

        4.      Proceeds of drug trafficking activities, such as United States currency, precious
metals, financial instruments, and jewelry, and documents and deeds reflecting the purchase or
lease of real estate, vehicles, precious metals, jewelry or other items obtained with the proceeds
from drug trafficking activities;

       5.      Firearms, ammunition, magazines, gun boxes, firearm purchase records or receipts,
and other paraphernalia associated with firearms;

        6.       Bank account records, loan documents, wire transfer records, money order receipts,
postal express mail envelopes, bank statements, safe deposit box keys and records, money
containers, financial records and notes showing payment, receipt, concealment, transfer, or
movement of money generated from the sale of controlled substances, or financial transactions
related to the trafficking of controlled substances;

        7.      Drug or money ledgers, drug distribution or customer lists, drug supplier lists,
correspondence, notations, logs, receipts, journals, books, records, and other documents noting the
price, quantity, and/or times when controlled substances were obtained, transferred, sold,
distributed, and/or concealed;

        8.     Personal telephone books, address books, telephone bills, photographs, letters,
cables, telegrams, facsimiles, personal notes, receipts, documents and other items or lists reflecting


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names, addresses, purchases, telephone numbers, addresses and communications regarding illegal
activities among and between members and associates involved in drug trafficking activities;

       9.     Records of off-site storage locations, including but not limited to safe deposit box
keys and records, and records and receipts and rental agreements for storage facilities;

        10.     Cellular telephones, Smartphones, text messaging systems, and other
communication devices, and all electronic storage areas on the device including stored telephone
numbers, recently called numbers list, text messages, digital audio and/or video recordings,
pictures, settings, and any other user defined settings and/or data, as well as any records associated
with such communications services used to commit drug trafficking offenses;

        11.    Records, items and documents reflecting travel for the purpose of participating in
drug trafficking activities, such as passports, airline tickets, bus tickets, vehicle rental receipts,
credit card receipts, taxi cab receipts, hotel and restaurant receipts, canceled checks, maps, and
records of long distance calls reflecting travel;

        12.     Indicia of occupancy, residency or ownership of the premises and things described
in the warrant, including utility bills, telephone bills, loan payment receipts, rent receipts, trust
deeds, lease or rental agreements, addressed envelopes, escrow documents and keys;

        13.    Photographs, videotapes or other depictions of assets, firearms, coconspirators, or
controlled substances; and

        14.    Computers, cellular telephones, or storage media used as a means to commit the
violations described above.

       15.     For any computer or storage medium whose seizure is otherwise authorized by this
warrant, and any computer or storage medium that contains or in which is stored records or
information that is otherwise called for by this warrant (hereinafter, “COMPUTER”):

               a.      evidence of who used, owned, or controlled the COMPUTER at the time
the things described in this warrant were created, edited, or deleted, such as logs, registry entries,
configuration files, saved usernames and passwords, documents, browsing history, user profiles,
email, email contacts, “chat,” instant messaging logs, photographs, and correspondence;

               b.      evidence indicating how and when the computer was accessed or used to
determine the chronological context of computer access, use, and events relating to crime under
investigation and to the computer user;

              c.      evidence indicating the computer user’s state of mind as it relates to the
crime under investigation;



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               d.      evidence of the attachment to the COMPUTER of other storage devices or
similar containers for electronic evidence;

               e.     evidence of counter-forensic programs (and associated data) that are
designed to eliminate data from the COMPUTER;

               f.      evidence of the times the COMPUTER was used;

               g.  passwords, encryption keys, and other access devices that may be necessary
to access the COMPUTER;

          h.      documentation and manuals that may be necessary to access the
COMPUTER or to conduct a forensic examination of the COMPUTER;

               i.      records of or information about Internet Protocol addresses used by the
COMPUTER;

               j.      records of or information about the COMPUTER’s Internet activity,
including firewall logs, caches, browser history and cookies, “bookmarked” or “favorite” web
pages, search terms that the user entered into any Internet search engine, and records of user-typed
web addresses;

               k.      contextual information necessary to understand the evidence described in
this attachment.

       As used above, the terms “records” and “information” includes all forms of creation or

storage, including any form of computer or electronic storage (such as hard disks or other media

that can store data); any handmade form (such as writing); any mechanical form (such as printing

or typing); and any photographic form (such as microfilm, microfiche, prints, slides, negatives,

videotapes, motion pictures, or photocopies).

       The term “computer” includes all types of electronic, magnetic, optical, electrochemical,

or other high speed data processing devices performing logical, arithmetic, or storage functions,

including desktop computers, notebook computers, mobile phones, tablets, server computers, and

network hardware.




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       The term “storage medium” includes any physical object upon which computer data can

be recorded. Examples include hard disks, RAM, floppy disks, flash memory, CD-ROMs, and

other magnetic or optical media.

       This warrant authorizes a review of electronic storage media and electronically stored

information seized or copied pursuant to this warrant in order to locate evidence, fruits, and

instrumentalities described in this warrant. The review of this electronic data may be conducted

by any government personnel assisting in the investigation, who may include, in addition to law

enforcement officers and agents, attorneys for the government, attorney support staff, and technical

experts. Pursuant to this warrant, the FBI may deliver a complete copy of the seized or copied

electronic data to the custody and control of attorneys for the government and their support staff

for their independent review.

       This warrant authorizes law enforcement personnel to: (1) press or swipe the fingers

(including thumbs) of Edwards to the fingerprint scanner of a device found at the premises; and/or

(2) hold a device found at the premises in front of Edwards’s face to activate the facial and/or iris

recognition features, for the purpose of attempting to unlock the device to search the contents as

authorized by this warrant.




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AO 106A (08/18) Application for a Warrant by Telephone or Other Reliable Electronic Means


                                      UNITED STATES DISTRICT COURT
                                                                   for the
                                                       Eastern District
                                                     __________         of Wisconsin
                                                                 District  of __________

              In the Matter of the Search of                                 )
         (Briefly describe the property to be searched                       )
          or identify the person by name and address)                        )              Case No.    0 1-
 7210 W. Capitol Drive, Milwaukee, Wisconsin, to include all                 )
associated common spaces, basement, garage, outbuildings,                    )
and identified vehicles, as further described in Attachment A-1              )

    APPLICATION FOR A WARRANT BY TELEPHONE OR OTHER RELIABLE ELECTRONIC MEANS
        I, a federal law enforcement officer or an attorney for the government, request a search warrant and state under
penalty of perjury that I have reason to believe that on the following person or property (identify the person or describe the
property to be searched and give its location):
 See Attachment A-1.

located in the              Eastern               District of                 Wisconsin                   , there is now concealed (identify the
person or describe the property to be seized):
 See Attachment B.


          The basis for the search under Fed. R. Crim. P. 41(c) is (check one or more):
               ✔ evidence of a crime;
               u
               ✔ contraband, fruits of crime, or other items illegally possessed;
               u
                 ✔ property designed for use, intended for use, or used in committing a crime;
                 u
                 u a person to be arrested or a person who is unlawfully restrained.
          The search is related to a violation of:
             Code Section                                                               Offense Description
        21 U.S.C. §§ 841(a)(1) and                Distribution of and possession with intent to distribute controlled substances, and
        846                                       conspiracy to distribute and possess with intent to distribute controlled
                                                  substances.
          The application is based on these facts:
        See Attached Affidavit.

           ✔ Continued on the attached sheet.
           u
           u Delayed notice of        days (give exact ending date if more than 30 days:                                             ) is requested under
             18 U.S.C. § 3103a, the basis of which is set forth on the attached sheet.


                                                                                                         Applicant’s
                                                                                                           plicant’s signature

                                                                                                       FBI TFO Ryan Reagan
                                                                                                        Printed name and title

Attested to by the applicant in accordance with the requirements of F    Fe
                                                                         Fed.
                                                                           ed.
                                                                            d. RR.. Crim. P. 4.1 by
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                      telephone                       (specify reliable
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                                                                                        means)


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Date:
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                                                                                                                        signature
                                                                                                                         ign
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City and state: Milwaukee, Wisconsin                                                 Honorable Nancy Joseph, U.S. Magistrate Judge
                     Case 2:23-mj-00901-NJ                      Filed 04/21/23              Page 8 ofPrinted
                                                                                                      49 name  and title
                                                                                                             Document    1
             AFFIDAVIT IN SUPPORT OF AN APPLICATION FOR A
        CRIMINAL COMPLAINT AND WARRANTS TO SEARCH AND SEIZE

       I, Ryan Reagan, being first duly sworn, hereby depose and state as follows:

                     INTRODUCTION AND AGENT BACKGROUND

       1.      I make this affidavit in support of an application for (1) a criminal complaint and

arrest warrant for Rayvon D. Edwards (DOB: XX/XX/1993); and (2) warrants, pursuant to Rule

41 of the Federal Rules of Criminal Procedure, to search the following premises, collectively the

SUBJECT PREMISES, more fully described in Attachments A-1 – A-3, for the things described

in Attachment B:

               a. 7210 W. Capitol Drive, Milwaukee, Wisconsin, SUBJECT PREMISES 1;

               b. 11346 N. Buntrock Avenue, Mequon, Wisconsin, SUBJECT PREMISES
                  2; and

               c. 6088 N. 41st Street, Milwaukee, Wisconsin, SUBJECT PREMISES 3.

       2.      I have over eight years of experience as a law enforcement officer through the

Milwaukee Police Department (MPD). I am currently assigned to the Milwaukee Police

Department’s Special Investigations Division, which is involved in the investigation of offenses

involving, but not limited to, narcotics, narcotics trafficking, and individuals prohibited from

possessing firearms within the City of Milwaukee. As of November 2021, I’ve been assigned and

attached as a Federally Deputized Task Force Officer (TFO) with the Federal Bureau of

Investigation’s Milwaukee Area Safe Streets Task Force. I am an investigator or law enforcement

officer of the United States within the meaning of 18 U.S.C. Section 2510(7), in that I am

empowered by the law to conduct investigations of and to make arrests for federal felony arrests.

       3.      As a Police Officer and a Task Force Officer, I have participated in the investigation

of numerous narcotics-related offenses, resulting in the prosecution and conviction of individuals

                                                 1



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and the seizure of illegal drugs, weapons, United States currency and other evidence of criminal

activity. As a narcotics investigator, I have interviewed many individuals involved in drug

trafficking and have obtained information from them regarding the acquisition, sale, importation,

manufacture, and distribution of controlled substances. Through my training and experience, I am

familiar with the actions, habits, traits, methods, and terminology used by the traffickers and

abusers of controlled substances. I have participated in all aspects of drug investigations, including

physical surveillance, execution of search warrants, undercover operations, analysis of phones and

the arrests of numerous drug traffickers. I have also been the affiant of many search warrants.

       4.      Additionally, I have spoken with other experienced narcotics investigators on

numerous occasions concerning the method and practices of drug traffickers and money

launderers. Furthermore, I have attended training courses that specialized in the investigation of

narcotics trafficking and money laundering. Through these investigations, my training and

experience, and conversations with other law enforcement personnel, I have become aware with

the methods used by drug traffickers to manufacture, smuggle, safeguard, and distribute narcotics,

and to collect and launder trafficking-derived proceeds. I am further aware of the methods

employed by major narcotics organizations to thwart any investigation of their illegal activities.

       5.      Based on my training, experience, and participation in drug trafficking

investigations and associated financial investigations involving controlled substances, I know and

have observed the following:

               a. I know large-scale drug traffickers often purchase and/or title their assets in
                  fictitious names, aliases, or the names of relatives, associates, or business
                  entities to avoid detection of these assets by government agencies. I know that
                  even though these assets are in the names other than the drug traffickers, the
                  drug traffickers actually own, use and exercise dominion and control over these
                  assets;


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               b. I know large-scale drug traffickers must maintain on-hand, large amounts of
                  U.S. currency to maintain and finance their ongoing drug business;

               c. Drug traffickers frequently possess firearms and ammunition to protect their
                  illegal product;

               d. I know that drug traffickers engaged in mobile drug trafficking often use their
                  vehicles to facilitate their trafficking activities by transporting and/or securing
                  contraband including but not limited to controlled substances, packaging
                  materials and other tools of the drug trade, drug proceeds, and firearms;

               e. I know it is common for persons involved in large-scale drug trafficking to
                  maintain evidence pertaining to their obtaining, secreting, transfer, concealment
                  and/or expenditure of drug proceeds, such as currency, financial instruments,
                  precious metals and gemstones, jewelry, books, records of real estate
                  transactions, bank statements and records, passbooks, money drafts, letters of
                  credit, money orders, passbooks, letters of credit, bank drafts, cashier’s checks,
                  bank checks, safe deposit box keys and money wrappers. These items are
                  maintained by the traffickers within residences, businesses, vehicles, or other
                  locations over which they maintain dominion and control;

               f. I know it is common for drug traffickers to maintain books, records, receipts,
                  notes ledgers, airline tickets, receipts relating to the purchase of financial
                  instruments and/or the transfer of funds and other papers relating to the
                  transportation, ordering, sale and distribution of controlled substances. That the
                  aforementioned book, records, receipts, notes, ledger, etc., are maintained
                  where the traffickers have ready access to them;

               g. It is common practice for individuals who are involved in business activities of
                  any nature to maintain books and records of such business activities for lengthy
                  periods of time. It is also common practice for individuals who maintain these
                  records to keep them in places that are secure but easily accessible such as in
                  their businesses, offices, or personal residence.

       6.      Based upon my training and experience, I know that computer hardware and

software may be important to a criminal investigation in two distinct and important respects: (1)

the objects themselves may be instrumentalities, fruits, or evidence of crime, and/or (2) the objects

may have been used to collect and store information about crimes (in the form of electronic data).

Rule 41 of the Federal Rules of Criminal Procedure permits the government to search and seize



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        Case 2:23-mj-00901-NJ          Filed 04/21/23      Page 11 of 49       Document 1
computer hardware and software which are (1) instrumentalities, fruits, or evidence of a crime, or

(2) storage devices for information about crime.

       7.      To this end, based upon my training and experience, I know that individuals

involved in drug trafficking frequently use cellular telephones to maintain contact and arrange

transactions with their sources and customers of and co-conspirators in the distribution of

controlled substances. I have also found it very common for crime suspects to use their cellular

telephones to communicate aurally or via electronic message in “text” format with individuals

whom they purchase, trade, or otherwise negotiate to obtain illegal drugs. I also believe that it is

common for crime suspects who possess illegal controlled substances and firearms to often take

or cause to be taken photographs and other visual depictions of themselves, their associates, and

the illegal controlled substances and firearms that they control, possess, buy, and sell.

       8.      The facts in this affidavit come from my personal observations, my training and

experience, and information obtained from other agents and witnesses. This affidavit is intended

to show merely that there is sufficient probable cause for the requested warrant and does not set

forth all of my knowledge about this matter.

       9.      Throughout this affidavit, reference will be made to case agents. Case agents are

those federal, state, and local law enforcement officers who have directly participated in this

investigation, and with whom your affiant has had regular contact regarding this investigation.

                                           PROBABLE CAUSE

       10.     The United States, including the FBI and the FBI’s Milwaukee Area Safe Street

Task Force (MASSTF), are conducting a criminal investigation of Rayvon D. Edwards regarding

possible violations of 21 U.S.C. §§ 841(a)(1) and 846 (distribution of and possession with intent

to distribute controlled substances, and conspiracy to distribute and possess with intent to distribute

                                                   4



        Case 2:23-mj-00901-NJ          Filed 04/21/23       Page 12 of 49       Document 1
controlled substances). The evidence reveals that Edwards is involved in the trafficking of

fentanyl, cocaine, and heroin.

       11.      The investigation to date has included traditional law enforcement methods,

including, but not limited to: interviews with confidential sources and sources of information;

controlled purchases of narcotics; documentary evidence; telephone toll data; and physical

surveillance.

                                    Confidential Human Sources

       12.      Case agents have received information concerning the illegal drug trafficking

activities of Rayvon Edwards from a confidential source (hereinafter “CHS #1”). CHS #1 stated

that Edwards trafficked in heroin and cocaine and that Edwards obtained multiple kilograms of the

same on an approximate weekly basis. CHS #1 has provided information about the membership,

structure, and customs of Edwards’s drug trafficking organization. CHS #1 has positively

identified Edwards as the leader of that drug trafficking conspiracy through a Milwaukee Police

Department booking photo. In March 2022 CHS #1 was with Edwards in a black BMW sedan,

which is one of Edwards’s vehicles. CHS #1 observed approximately one kilogram of cocaine,

which was in a smell-proof plastic wrap packaging and which was partially unwrapped. CHS #1

stated Edwards was selling this cocaine in at least ounce quantities for $900 an ounce. CHS #1’s

information regarding Edwards’s drug trafficking organization has been corroborated by other

investigations into Edwards and his associates, information obtained from various public

databases including Experian, phone data, Wisconsin Circuit Court Access Program, physical

surveillance, and other investigative information. CHS #1’s information has never been found to

be false or misleading.



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       13.    CHS #1 has been providing reliable information to the Federal Bureau of

Investigation since March 2022. Specifically, CHS #1 provided information that directly led to a

search warrant, which led to the recovery of three firearms and a distribution-level quantity of

marijuana and crack cocaine to a person unrelated to Edwards. The information provided by CHS

#1 is consistent with the evidence obtained elsewhere in this investigation, and substantial parts of

CHS #1’s information have been corroborated through independent investigations, including

information obtained from various public databases, physical surveillance and electronic

surveillance. CHS #1 has a criminal history that includes theft, property damage, trespass, drug

trafficking and vehicle and traffic violations. CHS #1 is receiving consideration in connection

with pending drug and firearms cases from the Milwaukee County District Attorney’s office for

his/her cooperation with law enforcement. CHS #1 has also been arrested and charged with

possession of marijuana, possession of drug paraphernalia and bail jumping and released on bond.

For these reasons, case agents consider CHS #1 to be reliable.

       14.     Investigators developed an additional confidential human source herein referred to

as CHS #2 regarding Edwards’s drug trafficking activities. CHS #2 has provided information

about the membership, structure, and customs of Edwards’s drug trafficking organization. CHS

#2 stated that Edwards is a large-scale supplier of heroin and cocaine in the greater Milwaukee

area and that Edwards is known to be in possession of $100,000 on his person at a time. CHS #2

has observed Edwards in possession of a kilogram of heroin in a vehicle within the past three

months of June 2022 but could not recall a location or date. CHS #2 stated that CHS #2 purchased

heroin and cocaine from Edwards on multiple occasions leading up to June 2022.

       15.     CHS #2 has been providing information related to Edwards since June 2022. CHS

#2 has positively identified Edwards as the leader of that drug trafficking conspiracy through a

                                                 6



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Milwaukee Police Department booking photo. CHS #2’s information concerning Edwards’s drug

trafficking organization has been corroborated by other investigations into Edwards and his

associates, information obtained from various public databases including Experian, phone data,

Wisconsin Circuit Court Access Program, physical surveillance, and other investigative

information. CHS #2’s information has never been found to be false or misleading.

       16.     CHS #2 has prior State of Wisconsin convictions for drug trafficking and a firearm

offense. CHS #2 was questioned and provided information both known and unknown to

investigators. The information provided by CHS #2 regarding the Edwards’s investigation is

corroborated and is found to be reliable. The known information that CHS #2 provided regarding

the Edwards’s investigation is the location Edwards operates out of, the vehicles known to be

used by Edwards, the identity of his girlfriend, the paying of associate drug traffickers’ bail,

Edwards’s phone number, the quantity of drugs that Edwards is trafficking, and the quantity of

currency Edwards is known to possess. CHS #2 is cooperating in exchange for consideration in

connection with arrests and charges for drug trafficking and firearms offenses.

                               Identification of SUBJECT PREMISES

        17.     Both CHS #1 and CHS #2 provided an address of 7210 W. Capitol Drive,

Milwaukee, Wisconsin, or SUBJECT PREMISES 1, as an auto shop that Edwards purchased

and was in the process of refurbishing to run as a legitimate source of income. However, according

to CHS #1, Edwards was paying for the refurbishing of the auto shop with proceeds of the drug

trafficking.

        18.     A check of Wisconsin Department of Transportation records revealed Edwards

provided the address of SUBJECT PREMISES 1 on November 3, 2021 as his listed address.



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       19.    In April 2023 a utility check was conducted for SUBJECT PREMISES 1, which

listed Lavish Tuning LLC as the responsible party along with Rayvon Edwards and Daje Hunter

as the points of contact with the phone number 414-446-0856. Case agents contacted the

Wisconsin Department of Financial Institutions via an open records request regarding any

corporations associated with Edwards or Daje M. Hunter, which revealed that Edwards was the

registered agent of Lavish Tuning Auto Repair LLC located at SUBJECT PREMISES 1, and that

the account has been active since September 2021.

       20.    Case agents are aware from interviews with CHS #1 and CHS #2 that “Daje” is

Edwards’s girlfriend with whom he resides. Case agents conducted a search of law enforcement

resources and located a Daje M. Hunter (B/F XX/XX/1998). Both CHS #1 and CHS #2 were

provided with a Wisconsin Department of Transportation photograph of Daje M. Hunter to which

they both identified Daje Hunter as the girlfriend of Edwards. Both CHS #1 and CHS #2 reported

meeting Hunter on multiple occasions and were aware through conversations with Edwards that

this was Edwards’s girlfriend.

       21.    In October 2022 CHS #2 informed investigators that Edwards recently moved

from his residence on S. Lake Drive. CHS #2 believed the new residence was north of the City of

Milwaukee in the suburbs based on conversations CHS #2 had with Edwards.

       22.    On October 26, 2022, court-authorized GPS pings from Edwards’s phone number

414-748-9891 (the 9891 Phone) reflected that Edwards’s 9891 Phone was staying overnight in

the area around 11300 W. Buntrock Avenue, Mequon, Wisconsin. Special Agent Nicholas

Rupnick traveled to that area and observed a gray Audi S7 bearing WI auto plate AMH8442 parked

in front of the garage at 11346 N. Buntrock Avenue, Mequon, Wisconsin, or SUBJECT

PREMISES 2. Case agents know this vehicle from personal observations and remote static

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surveillance to be driven by Edwards and have observed it at SUBJECT PREMISES 1. Case

agents conducted a search of open law enforcement resources using Hunter’s identifiers, which

revealed Hunter had active accounts at SUBJECT PREMISES 2. SA Rupnick spoke with

Detective Lance Wegner of the Mequon Police Department who conducted a check of their

Automatic License Plate Reader system for ANP8319, which is the plate associated with a Black

Mercedes GLE, which Daje Hunter is known to operate. Detective Wegner located a trend of that

vehicle being operated in the area around the residence from around October 3, 2022 to the present.

       23.     A check of utility records for SUBJECT PREMISES 2 in April 2023 revealed that

Hunter has an active account for SUBJECT PREMISES 2 and has since October 2022.

       24.     In April 2023, case agents served a subpoena to Mequon Spur 16 LLC, which owns

SUBJECT PREMISES 2. The subpoena revealed that Daje Hunter is listed as the lessee for the

residence.

       25.     CHS #1 stated that Edwards had begun talking to another female who resided

around N. 41st and W. Florist Avenue in Milwaukee, Wisconsin. On May 9, 2022 case agents

conducted an analysis of toll records for Edwards’s phone number 414-491-2298 (the 2298

Phone) and located 85 phone calls between Edwards and phone number 414-640-1567. Case

agents conducted checks on law enforcement databases, which reflected that Laquonda Criss was

associated with phone number 414-640-1567. Case agents through Milwaukee Police Department

records and Wisconsin Department of Transportation records located Laquonda T Criss (DOB:

XX/XX/1996), who resided at 6088 N. 41st Street, Milwaukee, Wisconsin, SUBJECT

PREMISES 3, which is near N. 41st Street and W. Florist Street, as described by CHS #1.




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       26.     A utility check was conducted in April 2023 on SUBJECT PREMISES 3, which

revealed that Laquonda Criss has an active account at SUBJECT PREMISES 3 and has since

November 2021

       27.     CHS #1 stated that on May 8, 2022, Edwards and CHS #1 went to SUJBECT

PREMISES 3. CHS #1 stated they were in Edwards’s Black BMW 6 series and Edwards had a

white Icon brand bag, which contained three large bricks that were wrapped in plastic, which CHS

#1 knew through experience to contain kilograms of cocaine. CHS #1 stated Edwards entered the

residence with a key and then returned from the residence without the bag. Based on their training,

experience, and familiarity with this investigation, case agents know that this interaction is

consistent with Edwards using the residence as a “stash house,” which case agents know to be a

residence that drug dealers will use to store large amounts of drugs. CHS #1 described the

residence as an apartment building with each apartment having its own entry door along the

apartment with an entry door that faces east and has a satellite dish that stands on the ground near

the entry door. Case agents conducted surveillance at Criss’s residence at SUBJECT PREMISES

3 and observed her residence was consistent with CHS #1’s description.

       28.     A check of Wisconsin Department of Transportation records revealed Laquonda

Criss provided the address of SUBJECT PREMISES 3 on December 26, 2021 as her listed

address.




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                               Controlled Buy #1 from Rayvon Edwards

       29.     On November 16, 2022 CHS #2 conducted a controlled purchase of cocaine and

heroin from Edwards. 1 Prior to the controlled buy, CHS #2 placed a consensually recorded phone

call to Edwards’s 9891 Phone, wherein Edwards and CHS #2 discussed the sale of “two zaps and

15 grits” for “2250,” consistent with a drug transaction.

       30.     On November 16, 2022, prior to the controlled buy, Edwards was observed via

remote static surveillance at SUBJECT PREMISES 1 with a small black bag that appeared to

have items inside along with a hammer. Edwards entered a black Audi Q7 bearing WI auto plate

344LXC and departed the location. A short time later Edwards was observed arriving at

SUBJECT PREMISES 2 via remote static surveillance.

       31.     Shortly after Edward’s arrival at SUBJECT PREMISES 2, CHS #2 placed the

recorded phone call for two ounces of cocaine and 15 grams of heroin, during which Edwards




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        Based upon my training and experience, I know that a “controlled buy” is a law
enforcement operation in which a confidential source purchases drugs from a target. The operation
is conducted using surveillance, usually audio and video recording equipment, and pre-recorded
purchase money. When a confidential source is used, s/he is searched for contraband, weapons,
and money before the operation. The confidential source is also equipped with a recording and
monitoring device. When the transaction is completed, the confidential source meets case agents
at a pre-determined meet location and gives the purchased drugs and the recording/monitoring
equipment to the case agents. The confidential source is again searched for contraband, weapons,
and money. The recording equipment is reviewed to determine consistency with confidential
source statements and law enforcement surveillance. A sample of the suspected drugs is then field
tested by case agents for the presence of controlled substance and then placed in inventory pursuant
to normal inventory procedures.
        The above-stated standard controlled buy protocols were followed during all controlled
buys.



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directed CHS #2 to meet him in the area of N. 38th Street and W. Florist Street in the City of

Milwaukee, which is in the area of SUBJECT PREMISES 3. A short time after the phone call,

SA Rupnick observed the black Audi Q7 leave from SUBJECT PREMISES 2 and then a short

time later enter the general area in which Edwards directed CHS #2. TFO Martez Ball went to

the location of SUBJECT PREMISES 3 and observed the Audi parked in the rear shared parking

lot of the location. TFO Ball then observed Edwards exit the rear door of the residence towards

the parking lot and enter the driver seat of the Audi. A few minutes later the Audi arrived at the

location CHS #2 had been waiting and CHS #2 followed the Audi into an alleyway at the location.

Edwards, while in the Audi, and CHS #2 had a short exchange in the alleyway and then departed

in different directions. CHS #2 arrived with control officers at the predetermined location and

informed control officers that Edwards arrived to the location in a black Audi and entered an

alleyway at the location which CHS #2 followed him into. CHS #2 stated that in the alleyway,

CHS #2 pulled alongside Edwards’s vehicle and exchanged the pre-recorded U.S. currency for

two clear plastic sandwich bags containing cocaine and heroin. Laboratory testing revealed that

the off-white powdery substance contained cocaine and weighed approximately 55.2 grams.

Laboratory testing revealed that the tan, rock-like substance contained heroin, fentanyl, cocaine,

and xylazine and weighed approximately 14.5 grams.

                          Controlled Buy #2 from Rayvon Edwards

       32.     On February 6, 2023, case agents conducted a controlled purchase of crack cocaine

and heroin from Edwards.        Before the controlled buy, court-authorized GPS pings from

Edwards’s phone number 414-553-4801 (the 4801 Phone) and remote static surveillance reflected

that Edwards’s 4801 Phone was at his residence, SUBJECT PREMISES 2. Case agents



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observed Edwards depart the location and subsequent GPS pings on Edwards’s 4801 Phone and

remote static surveillance reflected Edwards arrived at SUBJECT PREMISES 1.

       33.     CHS #2 met with case agent and conducted a recorded phone call with Edwards’s

4801 Phone to facilitate the controlled buy. During the recorded phone call, CHS #2 requested a

“zap and a half and ten grits,” meaning an ounce and a half of crack cocaine and 10 grams of

heroin. Edwards informed CHS #2 that he would let CHS #2 know and would call CHS #2 back.

Edwards called CHS #2 back and directed CHS #2 to meet in the area of N. 39th Street and W.

Florist Street in the City of Milwaukee.

       34.     Case agents searched CHS #2 and CHS #2’s vehicle for any money or contraband

and then provided CHS #2 with $1,750 in pre-recorded U.S. currency for the purchase of one and

a half ounces of crack cocaine and ten grams of heroin.           CHS #2 then departed for the

predetermined meet location with Edwards. Visual surveillance was maintained of CHS #2

throughout the controlled buy.

       35.     Using remote static surveillance, aerial and in-person surveillance, case agents

followed Edwards, operating a black Dodge Durango, from SUBJECT PREMISES 1 to

SUBJECT PREMISES 3. Surveillance observed Edwards enter SUBJECT PREMISES 3 and

then leave the residence carrying a clear plastic sandwich bag containing an off-white substance

in his hand, which was suspected to be cocaine. Surveillance observed Edwards enter the Dodge

and drive to the pre-determined meet location of N. 37th Street and W. Florist Street in the City of

Milwaukee and enter an alleyway. CHS #2 followed Edwards into the alleyway and pulled CHS

#2’s vehicle next to Edwards’s vehicle. Edwards and CHS #2 had an exchange through CHS

#2’s driver window and Edwards’s front passenger window. CHS#2 then departed the location

with surveillance officers following to the pre-determined meeting location.

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         36.   CHS #2 met with cases agents and stated that in the alleyway, CHS #2 handed

Edwards the pre-recorded $1,750 and Edwards handed CHS #2 two knotted clear plastic

sandwich bags containing crack cocaine and heroin. Case agents recovered the two sandwich bags

from CHS #2’s vehicle and observed one contained an off-white rock-like substance, which was

suspected to be crack cocaine, and the other contained a tan rock-like substance, which was

suspected to be heroin.

         37.   Laboratory testing revealed that the off-white rock-like substance contained

cocaine and weighed approximately 27.2 grams. Case agents subjected the purchased heroin to the

Nark II 01, 11, 33 field tests, which tested positive for heroin and fentanyl with a weight of 11.3

grams.

                              Controlled Buy #3 from Rayvon Edwards

         38.   Case agents along with CHS #2 conducted a third controlled buy from Edwards

on April 12, 2023 for two ounces of crack cocaine and 12 grams of heroin for $2,500. Case agents

reviewed remote static surveillance on April 12, 2023, which revealed that Edwards departed

SUBJECT PREMISES 2 at approximately 7:24 a.m. At approximately 12:04 p.m. case agents

located the vehicle that Edwards left his residence in across the street from SUBJECT

PREMISES 3 and then observed Edwards exited SUBJECT PREMISES 3 at 12:11 p.m. While

monitoring remote static surveillance video, Edwards was observed arriving at SUBJECT

PREMISES 1 at 12:40 p.m.

         39.   Case agents and CHS #2 met at 12:27 p.m. and began making multiple recorded

phone calls to Edwards using the 4801 Phone to facilitate the controlled buy. The first four phone

calls went unanswered. CHS #2 then received a phone call from Edwards’s 4801 Phone. The

person that called CSH #2 identified himself as Edwards’s “Brother,” who CSH #2 believed to

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be a close associate of Edwards. The caller informed CHS #2 that he was bringing Edwards the

phone and that Edwards would be in contact with CHS #2 soon. At 1:35 p.m., CHS #2 made a

recorded phone call to the 4801 Phone, and Edwards answered. During the phone call, Edwards

confirmed the transaction and amount of cocaine and heroin to be purchased by CHS #2. Edwards

informed CHS #2 that he (Edwards) would have to go to Florist, believed to be SUBJECT

PREMISES 3, and get the drugs.

       40.    Case agents conducted a search of CHS #2’s person and vehicle for any contraband

and money and did not locate any. CHS #2 was then provided with $2,500 for the purchase of two

ounces of crack cocaine and 12 grams of heroin. CHS #2 departed the meeting location and

traveled to N. 36th Street and W. Florist Avenue, which is within the vicinity of the location at

which the previous controlled buys occurred. This location is a few blocks from SUBJECT

PREMISES 3. Case agents maintained visual surveillance of CHS #2 throughout the duration of

the controlled buy. Shortly after the completion of the phone call with CHS #2 over the 4801

Phone, Edwards was observed leaving SUBJECT PREMISES 1 and arriving across the street

from SUBJECT PREMISES 3 operating a black Audi station wagon. Edwards was observed

exiting his vehicle and entering into the gangway that the entrance door to SUBJECT PREMISES

3 is located. Edwards was then observed returning to his vehicle approximately two minutes later.

Edwards was then observed traveling towards the location CHS #2 had been waiting for

Edwards. Edwards was observed in his vehicle approaching the location CHS #2 was parked

and entered an alleyway. CHS #2 followed Edwards into the alleyway. Case agents observed

CHS #2 pull along the driver side of Edwards’s vehicle and had an exchange through CHS #2’s

passenger side window and Edwards’s front driver’s window. After the exchange, both vehicles

departed the location. Edwards’s black Audi station wagon was observed arriving back at

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SUBJECT PREMISE 1 at approximately 2:11 p.m. and entering the garage. CHS #2 was

followed back to the meeting location by case agents. Case agents recovered a clear plastic

sandwich bag containing an off-white rock-like substance, which was suspected to be crack

cocaine and a clear plastic sandwich bag containing brown rock-like substance which was

suspected to be heroin. CHS #2’s person and vehicle were searched for any contraband or money,

and none was located.

       41.     The purchased crack cocaine was later subjected to the Nark II 07 field test, which

tested for cocaine base with a weight of 51.9 grams with original packaging. The purchased heroin

was subjected to the Nark II 11 field test, which tested positive for opiates with a weight of 12.2

grams with original packaging.

       42.     Based on the above-described controlled buy operations—wherein Edwards

traveled to SUBJECT PREMISES 3 before traveling to the control buy locations to conduct the

controlled buys with CHS #2—case agents believe that Edwards is using SUBJECT PREMISES

3 as a “stash house.” Additionally, during the second controlled purchase, Edwards was observed

leaving the residence while in possession of a clear sandwich bag containing suspected cocaine,

which appeared to be consistent with the packaging of the crack cocaine purchased using CHS #2.

This is consistent with Edwards’s use of SUBJECT PREMISES 3 as a stash house.

                   Historical information involving Edwards and Daje M. Hunter

       43.     In March 2022 CHS #1 provided the address of 4200 S. Lake Drive, Apartment

464, St. Francis, Wisconsin as the residence for Edwards (which is no longer a current residence

for Edwards). CHS #1 stated that Edwards resided at this residence with Hunter. Further, CHS

#1 had been inside the residence on more than five occasions. CHS #1 stated Edwards stored and

cooked cocaine and heroin at the residence based on personal observations and observed at least a

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kilogram of cocaine or heroin in the residence on at least 5 different occasions dating back within

the past three months of March 2022. CHS #1 stated Edwards had a safe in the bedroom of the

apartment complex that contained a large quantity of U.S. currency and a large quantity of cocaine

and heroin. CHS #1 stated Edwards placed door stops behind the front door, the door to the

bedroom and the door to the bathroom, which was attached to the bedroom in an effort to increase

the time it would take law enforcement authorities to make entry to the residence, allowing

Edwards to dispose of his narcotics.

       44.     In April 2022 CHS #1 provided information that CHS #1 had acquired knowledge

from Edwards that when Edwards meets with his source of supply for cocaine and heroin to

purchase multiple kilograms that he will have Hunter operate the vehicle either alone or with

Edwards in an attempt to avoid law enforcement contact.

       45.     CHS #1 stated that in April 2022 that CHS#1 was in a vehicle with Hunter driving

and Edwards was the front passenger and that they met with William H. Pope, who is known to

CHS #1 to purchase ounce quantities of cocaine from Edwards on a weekly basis in the area of

N. 35th Street and W. Mt. Vernon in the City of Milwaukee. CHS #1 observed Edwards deliver

two ounces of cocaine to Pope while inside of the vehicle.

       46.     CHS #1 told case agents that on April 29, 2022, Edwards was in Michigan picking

up auto parts and that while he was away, he delegated Hunter to deliver cocaine or heroin to

individuals that would call Edwards while he was gone. Case agents earlier on this day observed

Hunter operating a black Mercedes GLE, which had heavily tinted windows, a tinted license plate

cover, green brake calibers and a dealership advertisement plate on the rear of the vehicle.

Additionally, CHS #1 reported that Deandre L Johnson (DOB: XX/XX/95) was a drug trafficker

who purchased cocaine from Edwards to sell to drug users. CHS #1 stated that on April 29, 2022,

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Johnson was near the area of N. 35th Street and W. Galena Street. Case agents were aware that a

residence located at 1649 N. 35th Street, Milwaukee, Wisconsin was associated to Johnson and

responded to that area to conduct surveillance. While conducting surveillance, case agents

observed a gray Audi SUV arrive at the residence and observed Johnson exit the residence and

enter the rear passenger door of the Audi. Case agents conducted a follow of the Audi to the

location of N. 28th Street and W. Lisbon Avenue in the City of Milwaukee. Upon the Audi’s arrival

at the location, case agents observed a black Mercedes GLE already parked at the location. The

black Mercedes GLE had the same exterior description as the vehicle Hunter was observed

operating earlier in the day. Officers then observed Johnson exit the Audi and enter the rear

passenger seat of the Mercedes. After approximately three minutes, Johnson was observed exiting

the Mercedes and entering the rear seat of the Audi again. Case agents believe through their

training and experience that this interaction between Johnson and the occupant of the Mercedes

was consistent with a drug transaction based on the short duration of the interaction and the

information provided by CHS #1 that Edwards was delegating Hunter to deliver cocaine and

heroin on his behalf. Milwaukee Police uniformed officers attempted a traffic stop of the Audi,

which resulted in a vehicle pursuit. At the conclusion of the vehicle pursuit Johnson fled from the

vehicle on foot but was taken into custody. A search of Johnson’s person revealed a clear plastic

sandwich bag containing 17 knotted corner cuts containing an off-white chunky substance, which

was suspected to be cocaine. A NARC II 07 field test reflected that the substance tested positive

for cocaine base and the 17 corner cuts had a total weight of 5.21 grams.

       47.     Case agents are aware that law enforcement authorities identified phone number

331-803-1438 as a number used by Deandre Johnson. Case agents conducted an analysis of

Edwards’s 2298 Phone. This analysis revealed 331-803-1438 contacted Edwards’s 2298 Phone

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twenty times on the aforementioned day that Johnson was taken into custody. Based on the

observations made of Johnson before his arrest, the observation of the meeting between Johnson

and the Mercedes, which is known to be driven by Hunter, and the subsequent recovery of cocaine

from Johnson, case agents believe that the amount of contacts between Edwards and Johnson

were to facilitate the transaction of cocaine from Hunter to Johnson.

           48.   On May 15, 2022 Edwards was arrested in Chicago, Illinois with 142 grams of

crack cocaine and two digital scales in his possession and was subsequently charged by Cook

County, IL. White in custody Edwards contacted Daje Hunter at her known telephone number.

                               Observations at SUBJECT PREMISES 1

           49.   On June 22, 2022 case agents identified the Instagram account “realstasher_50k”

as an account believed to be used by William Pope, which account reflects pictures and videos of

Pope throughout the page.       Case agents also located a YouTube account with the name

“Real.Stasher.50K,” which had posted a music video on June 14, 2022 titled “Coming Down

(Official Music Video).” The video depicts William Pope rapping, along with multiple other males

in the background. Throughout the video, men in the background can be seen in possession of

handguns and rifles inside an auto shop and outside the auto shop near a white semi-truck. The

video switches scenes between inside an auto garage and the outside, which depicts a white semi-

truck parked in a lot. The video also depicts the males in front of multiple vehicles also parked in

the lot.

           50.   Case agents reviewed remote static electronic surveillance capturing SUBJECT

PREMISES 1 from June 3, 2022 and found that between approximately 9:00 p.m. and 11:30 p.m.

multiple vehicles entered the lot and parked. These vehicles are the same as the ones depicted in

the YouTube video and parked in the same locations as in the video. On the remote static electronic

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surveillance, a tripod stand is visible and being used, and a subject is recording multiple other

subjects as they stand in front of the vehicles and in front of a white semi-truck, which is parked

in the lot. It appears the video posted on YouTube by William Pope was recorded on June 3, 2022

at Edwards’s shop.

       51.     In May 2022 CHS #1 provided information that CHS #1 knew William Pope to

have purchased approximately 20 grams of heroin and one to three ounces of cocaine from

Edwards for $45 a gram for heroin and $975 an ounce for cocaine approximately every other day

between April 2022 until the time Pope was arrested in November 2022. CHS #1 stated that CHS

#1 personally observed Edwards provide controlled substances to Pope. CHS #1 stated that one of

these exchanges occurred at the auto shop located at SUBJECT PREMISES 1.

       52.     On July 8, 2022 members of MASSTF conducted surveillance on Edwards using

the court-authorized location data for Edwards’s 2298 Phone. While the location information

showed Edwards’s phone was in the vicinity of SUBJECT PREMISES 1, case agents observed

William Pope arrive at the location in a gray Dodge Charger. Case agents observed William Pope

and Edwards both enter SUBJECT PREMISES 1 and then exit a short time later. Case agents

observed William Pope enter the driver seat of a Dodge Charger and leave the location and travel

one block away and park in the 4000 block of North 72nd Street, Milwaukee, Wisconsin near a

red Saturn Vue. While parked, a white female exited the Saturn and approached the driver window

of Pope’s Dodge Charger and had a hand-to-hand exchange with Pope before returning to her

vehicle. A traffic stop was later conducted of the Saturn Vue, and the female admitted to

purchasing cocaine and heroin from a black male matching Pope’s description in a gray Dodge

Charger. Law enforcement officers recovered heroin from the Saturn Vue. Case agents believe



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that William Pope had arrived at SUBJECT PREMISES 1 to purchase drugs from Edwards and

then subsequently left SUBJECT PREMISES 1 to deliver to the female in the Saturn.

       53.     TFO Reagan was made aware of a vehicle pursuit which occurred on July 12, 2022

during which Milwaukee Police Officers Andrew Langer and Justin Torres engaged in a vehicle

pursuit of a 2015 Hyundai Sonata driven by Jerold Lee-Brown (DOB: XX/XX/95) throughout the

City of Milwaukee. The officers reported that at the end of the pursuit Lee-Brown exited the Sonata

and ran to a waiting gray Dodge Charger and entered the back-passenger seat. The Dodge Charger

then proceeded to flee officers, which resulted in the termination of the vehicle pursuit. TFO

Reagan obtained a copy of the police reports, which are under Milwaukee Police Case No. 22-

193-0174, and the squad car video from the Milwaukee Police squad car and reviewed both. The

pursuit began at approximately 7:38 p.m. from the area of 2111 S. 14th Street, Milwaukee,

Wisconsin. At approximately 7:57 p.m. near N. 28th Street and N. 29th Street and W. St. Paul

Avenue in the City of Milwaukee the vehicle drove south through a vacant field towards W. St.

Paul Avenue where a gray Dodge Charger with black rims was waiting facing eastbound towards

the freeway entrance. As the Sonata drove through the field, Lee-Brown exited the driver door

and began to run towards the Charger. The rear driver side door of the Charger was opened from

an occupant from inside the vehicle and is the door Lee-Brown ran to and entered. The Dodge then

entered the freeway fleeing and eluding the police. Upon watching this video TFO Reagan

recognized the Dodge as having a similar body style and color as well as having similar colored

rims as the vehicle known to be operated by William Pope. The police officers reported the Dodge

had a possible plate of ANK3228 but had a license plate cover over the plate. This plate number

is similar to the plate on William Pope’s Dodge which is AKX3238. A review of remote static

electronic surveillance of SUBJECT PREMISES 1 reflected the following:

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              a. At 8:03 p.m. three of the four garage doors to the auto shop are open and an
                 unknown black male is observed running from the east towards the shop and
                 entered the garage. The first garage door is observed closing.

              b. At 8:04 p.m. the same unknown male is observed standing in the third garage
                 door on a cell phone.

              c. At 8:05 p.m. the unknown male reopened the first garage bay door and a white
                 Dodge Durango known to be driven by Edwards quickly entered the lot and
                 parked near the second and third door. Edwards was observed exiting the
                 driver door quickly and going towards the third door pointing into the shop
                 while interacting with the unknown male. Both the male and Edwards entered
                 the third garage bay door.

              d. At 8:06 p.m. Edwards ran back to the Durango and entered the driver seat and
                 then quickly pulled the Durango into the third garage door, and the unknown
                 male closed the door behind the vehicle.

              e. At 8:07 p.m. Edwards was observed on his cell phone and then closed the
                 fourth garage bay door.

              f. At 8:09:20 p.m. Edwards was observed closing the first garage bay door and
                 then opening the second door halfway. Then, a gray Dodge Charger matching
                 the same appearance as the one from the fleeing incident and known to be
                 operated by William Pope entered the second garage bay door. The garage bay
                 door is then closed behind the vehicle.

              g. At 8:14 p.m. a gray Infiniti is observed pulling into the lot and parking.

              h. At 8:18 p.m. a subject with a similar build and clothing appearance to the driver
                 of the Hyundai exited the shop along with a subject matching the physical
                 characteristics of William Pope and Edwards. The two males believed to be
                 Pope and the driver of the Hyundai entered the Infiniti and left the lot.

       54.    A review of the ping location date for Edwards’s 2298 Phone reflected that the

2298 Phone had a ping radius that covered the location of the auto shop, SUBJECT PREMISES

1, and a review of the pen register data revealed a 414-750-9792 called Edwards at 8:01:20 p.m.

for 36 seconds just prior to the unknown male running to the shop and Edwards returning to the

shop. A second call with the same number began at 8:07:39 p.m. and lasted 1 minute 49 seconds.

The time the call with this number was terminated was within 3 seconds of the Dodge Charger

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pulling into the garage bay. Based on the aforementioned incident case agents believe that

Edwards intentionally used his auto shop to assist William Pope and Lee-Brown in eluding police.

       55.     CHS #1 and CHS #2 reported that Edwards facilitated drug transactions to occur

near North 69th Street and West Capitol Drive in Milwaukee, Wisconsin to any area around that

intersection, near Edwards’s auto shop, SUBJECT PREMISES 1. CHS #1 and CHS #2 stated

after conducting the drug transactions that Edwards would generally return to SUBJECT

PREMISES 1. CHS #1 and CHS #2 reported that Edwards would conduct the transactions in

areas outside SUBJECT PREMISES 1 to avoid raising law enforcements attention to SUBJECT

PREMISES 1.

       56.     Case agents conducted surveillance on July 19, 2022 and August 10, 2022, during

which case agents observed Edwards at SUBJECT PREMISES 1, then depart from SUBJECT

PREMISES 1 in a vehicle to an area nearby and meet with persons and/or occupied vehicles.

Case agents observed Edwards engage in short interactions with the vehicles and or person.

Edwards was then observed returning back to SUBJECT PREMISES 1. Based on case agents’

training, experience, and familiarity with this investigation, case agents believe that these

interactions were consistent with mobile drug transactions.

       57.     On September 14, 2022 CHS #2 informed investigators that within the past seven

days of the interview the CHS observed Edwards in possession of a gallon-sized zip lock bag

containing a substance that the CHS knows through experience to be heroin. CHS #2 and Edwards

were reportedly in the area of N. 70th and W. Capitol Drive in the City of Milwaukee. CHS #2

stated Edwards then returned to his auto shop at SUBJECT PREMISES 1 and returned a short

time later with a sandwich bag that contained a substance that the CHS knew to be crack cocaine.



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        58.     On April 14, 2023, case agents conducted a review of remote static surveillance on

SUBJECT PREMISES 1, which depicted Edwards arriving at the location in the black Dodge

Durango. At this time, an occupied Mazda CX5 was waiting in the parking lot. Upon Edwards’s

arrival, the male driver of the Mazda exited and entered the front passenger seat of the Dodge

Durango. After approximately 30 seconds, the Mazda driver exited the Dodge Durango, entered

the Mazda, and then departed the parking lot. Edwards was then observed exiting the driver seat

of the Dodge Durango and entering SUBJECT PREMISE 1. Based on their training, experience,

and familiarity of this investigation, case agents believe that Edwards conducted a drug transaction

at this time.

                           SUBJECT PREMISES and Vehicle Information

        59.     Case agents conducted a review of remote static surveillance located at SUBJECT

PREMISES 1 and SUBJECT PREMISES 2 during the month of April 2023 and found the

following:

                a. On April 7, 2023, Edwards was observed arriving at SUBJECT PREMISES
                   2 at 7:30 a.m. in a black Dodge Durango and departing at 1:10 p.m. Edwards
                   was then observing arriving at SUBJECT PREMISES 1 at 2:33 p.m.

                b. On April 8, 2023, Edwards was observed leaving SUBJECT PREMISES 2
                   at 12:43 p.m. in a black Dodge Durango and arriving at SUBJECT
                   PREMISES 1 at 1:15 p.m.

                c. On April 9, 2023, Edwards was observed leaving SUBJECT PREMISES 2
                   at 11:50 a.m. in a black Dodge Durango and arriving at SUBJECT PREMISES
                   1 at 12:28 p.m.

                d. On April 10, 2023, Edwards was observing leaving SUBJECT PREMISES 2
                   at 12:52 p.m. in a black Dodge Durango and arriving at SUBJECT
                   PREMISES 1 at 1:10 p.m.

                e. On April 11, 2023 Edwards was observed departing SUBJECT PREMISES
                   2 in a black Audi station wagon at 11:54 a.m. and arriving at SUBJECT
                   PREMISES 1 at 1:12 p.m. in the Audi.

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               f. On April 18, 2023 Edwards was observed departing SUBJECT PREMISES
                  2 in the early afternoon in a black Audi station wagon and arriving at
                  SUBJECT PREMISES 1 a short time later.

       60.     Case agents have conducted reviews of remote static surveillance video, which

records SUBJECT PREMISES 1 and SUBJECT PREMISES 2, and location data from phone

numbers used by Edwards. This review leads case agents to believe that SUBJECT PREMISES

2 is Edwards’s primary residence, as static surveillance and his cell phone reflects he and/or his

phone is located at SUBJECT PREMISES 2 during a majority of the overnight hours.

Additionally, within the last 30 days, location data for Edwards’s 4801 Phone reflects that it is in

the vicinity of SUBJECT PREMISES 3 approximately once a day up to multiple times in a day.

       61.     Case agents are aware that Daje Hunter has a 2021 Dodge Durango Hellcat VIN:

1C4SDJH90MC643328 registered in her name, and case agents through surveillance have

observed Wisconsin license plate 341LXC affixed to the Dodge Durango.                A Wisconsin

Department of Transportation check revealed the above-identified plates do not list to any vehicle

and are registered to the previous business that occupied SUBJECT PREMISES 1. Case agents

have observed Edwards operating this vehicle, as recently as within the past week, and note that

this vehicle was used during the controlled buy on February 6, 2023.

       62.     Case agents are aware that Daje Hunter has a 2019 Mercedes Benz GLE registered

to her with the Wisconsin license plate ANP8319. Case agents have personally observed this

vehicle being operated by Daje Hunter and Edwards with that license plate.

       63.     Case agents have observed Edwards operating a black Audi Q7, bearing Wisconsin

License plate of 344LXC, during the controlled buy on November 16, 2022. A Wisconsin




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Department of Transportation check of that plate revealed it is registered to the previous business

that occupied SUBJECT PREMISES 1.

        64.     Case agents have observed Edwards operating a black Audi station wagon with

silver or chrome trim around the entire bottom of the Audi and chrome trim around the window

frame, as recently as April 19, 2023. Case agents have not been able to observe a license plate for

this vehicle.

        65.     Case agents observed a gray 2014 Audi S7 bearing WI Registration ASK355 in the

parking lot of SUBJECT PREMISES 1 on April 19, 2023.

        66.     Case agents observed a black BMW 6 Series in the parking lot of SUBJECT

PREMISES 1 on April 12, 2023.

                                     TECHNICAL TERMS

        67.     Based on my training and experience, I use the following technical terms to

convey the following meanings:

                a. IP Address: The Internet Protocol address (or simply “IP address”) is a unique
                   numeric address used by computers on the Internet. An IP address looks like
                   a series of four numbers, each in the range 0-255, separated by periods (e.g.,
                   121.56.97.178). Every computer attached to the Internet must be assigned an
                   IP address so that Internet traffic sent from and directed to that computer may
                   be directed properly from its source to its destination. Most Internet service
                   providers control a range of IP addresses. Some computers have static—that
                   is, long-term—IP addresses, while other computers have dynamic—that is,
                   frequently changed—IP addresses.

                b. Internet: The Internet is a global network of computers and other electronic
                   devices that communicate with each other. Due to the structure of the
                   Internet, connections between devices on the Internet often cross state and
                   international borders, even when the devices communicating with each other
                   are in the same state.

                c. Storage medium: A storage medium is any physical object upon which
                   computer data can be recorded. Examples include hard disks, RAM, floppy
                   disks, flash memory, CD-ROMs, and other magnetic or optical media.
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        COMPUTERS, ELECTRONIC STORAGE, AND FORENSIC ANALYSIS

       70.     As described above and in Attachment B, this application seeks permission to

search for records that might be found on the SUBJECT PREMISES, in whatever form they are

found. One form in which the records might be found is data stored on a computer’s hard drive,

cellular telephone, or other storage media. Thus, the warrant applied for would authorize the

seizure of electronic storage media or, potentially, the copying of electronically stored information,

all under Rule 41(e)(2)(B).

       71.     Probable cause. I submit that if a computer, cellular telephone, or storage medium

is found on the SUBJECT PREMISES, there is probable cause to believe those records will be

stored on that computer or storage medium, for at least the following reasons:

               a.      Based on my knowledge, training, and experience, I know that computer

files or remnants of such files can be recovered months or even years after they have been

downloaded onto a storage medium, deleted, or viewed via the Internet.               Electronic files

downloaded to a storage medium can be stored for years at little or no cost. Even when files have

been deleted, they can be recovered months or years later using forensic tools. This is so because

when a person “deletes” a file on a computer, the data contained in the file does not actually

disappear; rather, that data remains on the storage medium until it is overwritten by new data.

               b.      Therefore, deleted files, or remnants of deleted files, may reside in free

space or slack space—that is, in space on the storage medium that is not currently being used by

an active file—for long periods of time before they are overwritten. In addition, a computer’s

operating system may also keep a record of deleted data in a “swap” or “recovery” file.




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               c.      Wholly apart from user-generated files, computer storage media—in

particular, computers’ internal hard drives—contain electronic evidence of how a computer has

been used, what it has been used for, and who has used it. To give a few examples, this forensic

evidence can take the form of operating system configurations, artifacts from operating system or

application operation, file system data structures, and virtual memory “swap” or paging files.

Computer users typically do not erase or delete this evidence, because special software is typically

required for that task. However, it is technically possible to delete this information.

               d.      Similarly, files that have been viewed via the Internet are sometimes

automatically downloaded into a temporary Internet directory or “cache.”

       72.     Forensic evidence. As further described in Attachment B, this application seeks

permission to locate not only computer files that might serve as direct evidence of the crimes

described on the warrant, but also for forensic electronic evidence that establishes how computers

were used, the purpose of their use, who used them, and when. There is probable cause to believe

that this forensic electronic evidence will be on any storage medium in the SUBJECT

PREMISES because:

               a.      Data on the storage medium can provide evidence of a file that was once on

the storage medium but has since been deleted or edited, or of a deleted portion of a file (such as

a paragraph that has been deleted from a word processing file). Virtual memory paging systems

can leave traces of information on the storage medium that show what tasks and processes were

recently active.    Web browsers, e-mail programs, and chat programs store configuration

information on the storage medium that can reveal information such as online nicknames and

passwords. Operating systems can record additional information, such as the attachment of

peripherals, the attachment of USB flash storage devices or other external storage media, and the

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times the computer was in use. Computer file systems can record information about the dates files

were created and the sequence in which they were created, although this information can later be

falsified.

               b.     As explained herein, information stored within a computer and other

electronic storage media may provide crucial evidence of the “who, what, why, when, where, and

how” of the criminal conduct under investigation, thus enabling the United States to establish and

prove each element or alternatively, to exclude the innocent from further suspicion. In my training

and experience, information stored within a computer or storage media (e.g., registry information,

communications, images and movies, transactional information, records of session times and

durations, internet history, and anti-virus, spyware, and malware detection programs) can indicate

who has used or controlled the computer or storage media. This “user attribution” evidence is

analogous to the search for “indicia of occupancy” while executing a search warrant at a residence.

The existence or absence of anti-virus, spyware, and malware detection programs may indicate

whether the computer was remotely accessed, thus inculpating or exculpating the computer owner.

Further, computer and storage media activity can indicate how and when the computer or storage

media was accessed or used. For example, as described herein, computers typically contain

information that log: computer user account session times and durations, computer activity

associated with user accounts, electronic storage media that connected with the computer, and the

IP addresses through which the computer accessed networks and the internet. Such information

allows investigators to understand the chronological context of computer or electronic storage

media access, use, and events relating to the crime under investigation. Additionally, some

information stored within a computer or electronic storage media may provide crucial evidence

relating to the physical location of other evidence and the suspect. For example, images stored on

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a computer may both show a particular location and have geolocation information incorporated

into its file data. Such file data typically also contains information indicating when the file or

image was created. The existence of such image files, along with external device connection logs,

may also indicate the presence of additional electronic storage media (e.g., a digital camera or

cellular phone with an incorporated camera). The geographic and timeline information described

herein may either inculpate or exculpate the computer user. Last, information stored within a

computer may provide relevant insight into the computer user’s state of mind as it relates to the

offense under investigation. For example, information within the computer may indicate the

owner’s motive and intent to commit a crime (e.g., internet searches indicating criminal planning),

or consciousness of guilt (e.g., running a “wiping” program to destroy evidence on the computer

or password protecting/encrypting such evidence in an effort to conceal it from law enforcement).

               c.     A person with appropriate familiarity with how a computer works can, after

examining this forensic evidence in its proper context, draw conclusions about how computers

were used, the purpose of their use, who used them, and when.

               d.     The process of identifying the exact files, blocks, registry entries, logs, or

other forms of forensic evidence on a storage medium that are necessary to draw an accurate

conclusion is a dynamic process. While it is possible to specify in advance the records to be

sought, computer evidence is not always data that can be merely reviewed by a review team and

passed along to investigators. Whether data stored on a computer is evidence may depend on other

information stored on the computer and the application of knowledge about how a computer

behaves. Therefore, contextual information necessary to understand other evidence also falls

within the scope of the warrant.



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               e.      Further, in finding evidence of how a computer was used, the purpose of its

use, who used it, and when, sometimes it is necessary to establish that a particular thing is not

present on a storage medium. For example, the presence or absence of counter-forensic programs

or anti-virus programs (and associated data) may be relevant to establishing the user’s intent.

               f.      I know that when an individual uses a computer to operate a website that is

used for illegal conduct, the individual’s computer will generally serve both as an instrumentality

for committing the crime, and also as a storage medium for evidence of the crime. The computer

is an instrumentality of the crime because it is used as a means of committing the criminal offense.

The computer is also likely to be a storage medium for evidence of crime. From my training and

experience, I believe that a computer used to commit a crime of this type may contain: data that is

evidence of how the computer was used; data that was sent or received; notes as to how the criminal

conduct was achieved; records of Internet discussions about the crime; and other records that

indicate the nature of the offense.

       73.     Necessity of seizing or copying entire computers or storage media. In most cases,

a thorough search of a premises for information that might be stored on storage media often

requires the seizure of the physical storage media and later off-site review consistent with the

warrant. In lieu of removing storage media from the premises, it is sometimes possible to make an

image copy of storage media. Generally speaking, imaging is the taking of a complete electronic

picture of the computer’s data, including all hidden sectors and deleted files. Either seizure or

imaging is often necessary to ensure the accuracy and completeness of data recorded on the storage

media, and to prevent the loss of the data either from accidental or intentional destruction. This is

true because of the following:



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                 a.    The time required for an examination. As noted above, not all evidence

takes the form of documents and files that can be easily viewed on site. Analyzing evidence of

how a computer has been used, what it has been used for, and who has used it requires considerable

time, and taking that much time on premises could be unreasonable. As explained above, because

the warrant calls for forensic electronic evidence, it is exceedingly likely that it will be necessary

to thoroughly examine storage media to obtain evidence. Storage media can store a large volume

of information. Reviewing that information for things described in the warrant can take weeks or

months, depending on the volume of data stored, and would be impractical and invasive to attempt

on-site.

                 b.    Technical requirements. Computers can be configured in several different

ways, featuring a variety of different operating systems, application software, and configurations.

Therefore, searching them sometimes requires tools or knowledge that might not be present on the

search site. The vast array of computer hardware and software available makes it difficult to know

before a search what tools or knowledge will be required to analyze the system and its data on the

Premises. However, taking the storage media off-site and reviewing it in a controlled environment

will allow its examination with the proper tools and knowledge.

                 c.    Variety of forms of electronic media. Records sought under this warrant

could be stored in a variety of storage media formats that may require off-site reviewing with

specialized forensic tools.

           74.   Nature of examination.     Based on the foregoing, and consistent with Rule

41(e)(2)(B), the warrant I am applying for would permit seizing, imaging, or otherwise copying

storage media that reasonably appear to contain some or all of the evidence described in the

warrant, and would authorize a later review of the media or information consistent with the

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warrant. The later review may require techniques, including but not limited to computer-assisted

scans of the entire medium, that might expose many parts of a hard drive to human inspection in

order to determine whether it is evidence described by the warrant.

                                    BIOMETRIC UNLOCK

       75.     The warrant I am applying for would permit law enforcement to obtain from

Edwards the display of physical biometric characteristics (such as fingerprint, thumbprint, facial,

or iris characteristics) to unlock devices subject to search and seizure pursuant to this warrant. I

seek this authority based on the following:

       76.     I know from my training and experience, as well as from information found in

publicly available materials published by device manufacturers, that many electronic devices,

particularly newer mobile devices and laptops, offer their users the ability to unlock the device

through biometric features in lieu of a numeric or alphanumeric passcode or password. These

biometric features include fingerprint scanners and facial recognition features. Some devices offer

a combination of these biometric features, and the user of such devices can select which features

they would like to use.

       77.     If a device is equipped with a fingerprint scanner, a user may enable the ability to

unlock the device through his or her fingerprints. For example, Apple offers a feature called

“Touch ID,” which allows a user to register up to five fingerprints that can unlock a device. Once

a fingerprint is registered, a user can unlock the device by pressing the relevant finger to the

device’s Touch ID sensor, which is found in the round button (often referred to as the “home”

button) located at the bottom center of the front of the device. The fingerprint sensors found on

devices produced by other manufacturers have different names but operate similarly to Touch ID.



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       78.     If a device is equipped with a facial recognition feature, a user may enable the

ability to unlock the device through his or her face. For example, Apple offers a facial recognition

feature called “Face ID.” During the Face ID registration process, the user holds the device in

front of his or her face. The device’s camera then analyzes and records data based on the user’s

facial characteristics. The device can then be unlocked if the camera detects a face with

characteristics that match those of the registered face. Facial recognition features found on devices

produced by other manufacturers have different names but operate similarly to Face ID.

       79.     If a device is equipped with an iris recognition feature, a user may enable the ability

to unlock the device through his or her irises. For example, Samsung offers an Iris Scanner, which

uses the biometric information of an individuals’ irises to identify the user.

       80.     In my training and experience, users of electronic devices often enable the

aforementioned biometric features because they are considered to be a more convenient way to

unlock a device than by entering a numeric or alphanumeric passcode or password. Moreover, in

some instances, biometric features are considered to be a more secure way to protect a device’s

contents. This is particularly true when the users of a device are engaged in criminal activities and

thus have a heightened concern about securing the contents of a device.

       81.     As discussed in this affidavit, based on my training and experience I believe that

one or more digital devices will be found during the search. The passcode or password that would

unlock the device(s) subject to search under this warrant is not known to law enforcement. Thus,

law enforcement personnel may not otherwise be able to access the data contained within the

device(s), making the use of biometric features necessary to the execution of the search authorized

by this warrant.



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       82.     I also know from my training and experience, as well as from information found in

publicly available materials including those published by device manufacturers, that biometric

features will not unlock a device in some circumstances even if such features are enabled. This can

occur when a device has been restarted, inactive, or has not been unlocked for a certain period of

time. For example, Apple devices cannot be unlocked using Touch ID when (1) more than 48

hours has elapsed since the device was last unlocked or (2) when the device has not been unlocked

using a fingerprint for 4 hours and the passcode or password has not been entered within a certain

period of time. Biometric features from other brands carry similar restrictions. Thus, in the event

law enforcement personnel encounter a locked device equipped with biometric features, the

opportunity to unlock the device through a biometric feature may exist for only a short time.

       83.     Due to the foregoing, if law enforcement personnel encounter a device that is

subject to search and seizure pursuant to this warrant and may be unlocked using one of the

aforementioned biometric features, the warrant I am applying for would permit law enforcement

personnel to (1) press or swipe the fingers (including thumbs) of Edwards to the fingerprint

scanner of the device; (2) hold the device in front of Edwards’s face to activate the facial

recognition feature; and/or (3) hold the device in front of Edwards’s face to activate the iris

recognition feature, for the purpose of attempting to unlock the device in order to search its

contents as authorized by this warrant.

                                          CONCLUSION

       84.     Based on the facts contained within this affidavit, I believe there is probable cause

to believe that Rayvon D. Edwards committed the crimes of distribution of controlled substances,

in violation of Title 21, United States Code, Sections 841(a)(1) and 841(b)(1)(C).



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       85.    Based upon the facts contained within this affidavit I believe there is probable cause

for a warrant to search the SUBJECT PREMISES described in Attachments A-1, A-2, and A-3

and seize the items described in Attachment B.




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                                      ATTACHMENT A-1

                                      Property to be searched

7210 W. Capitol Drive, Milwaukee, Wisconsin, to include all associated common spaces,

basement, garage, outbuildings, and vehicles to include a black 2021 Dodge Durango Hellcat with

VIN: 1C4SDJH90MC643328, a black 2019 Mercedes Benz GLE bearing WI Registration

ANP8319, a black Audi Q7 bearing WI Registration 344LXC, a gray 2014 Audi S7 bearing WI

Registration ASK355, a Black Audi Station wagon, and a black BMW 6 Series at this address.

This property is used by Rayvon Edwards. This address is further described as an automotive

repair shop/car dealership having blue and gray brick siding and green wood boards over the south

facing windows. The structure has two sets of east facing pedestrian glass doors that lead into the

main lobby of the auto shop and four overhead garage doors facing east leading into the auto

garage portion of the structure. The structure has the numbers “7210” posted over the east facing

pedestrian doors, which lead into the parking lot of the lot.




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                                        ATTACHMENT B

                                        Property to be seized

       All evidence, fruits, and instrumentalities of violations of Title 21, United States Code,

Section 841(a)(1) (Distribution of and possession with intent to distribute controlled substances)

and Section 846 (Conspiracy to possess with intent to distribute and to distribute controlled

substances), those violations involving Rayvon Edwards, including:

       1.      Controlled substances, controlled substance analogues, or listed chemicals;

        2.     Paraphernalia associated with the manufacture and distribution of controlled
substances including but not limited to materials and items used for packaging, processing,
diluting, weighing, and distributing controlled substances, such as scales, funnels, sifters, grinders,
glass panes and mirrors, razor blades, plastic bags, and heat-sealing devices;

        3.     Duffel, canvas bags, suitcases, safes, or other containers to hold or transport
controlled substances and drug trafficking related items and proceeds;

        4.      Proceeds of drug trafficking activities, such as United States currency, precious
metals, financial instruments, and jewelry, and documents and deeds reflecting the purchase or
lease of real estate, vehicles, precious metals, jewelry or other items obtained with the proceeds
from drug trafficking activities;

       5.      Firearms, ammunition, magazines, gun boxes, firearm purchase records or receipts,
and other paraphernalia associated with firearms;

        6.       Bank account records, loan documents, wire transfer records, money order receipts,
postal express mail envelopes, bank statements, safe deposit box keys and records, money
containers, financial records and notes showing payment, receipt, concealment, transfer, or
movement of money generated from the sale of controlled substances, or financial transactions
related to the trafficking of controlled substances;

        7.      Drug or money ledgers, drug distribution or customer lists, drug supplier lists,
correspondence, notations, logs, receipts, journals, books, records, and other documents noting the
price, quantity, and/or times when controlled substances were obtained, transferred, sold,
distributed, and/or concealed;

        8.     Personal telephone books, address books, telephone bills, photographs, letters,
cables, telegrams, facsimiles, personal notes, receipts, documents and other items or lists reflecting


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names, addresses, purchases, telephone numbers, addresses and communications regarding illegal
activities among and between members and associates involved in drug trafficking activities;

       9.     Records of off-site storage locations, including but not limited to safe deposit box
keys and records, and records and receipts and rental agreements for storage facilities;

        10.     Cellular telephones, Smartphones, text messaging systems, and other
communication devices, and all electronic storage areas on the device including stored telephone
numbers, recently called numbers list, text messages, digital audio and/or video recordings,
pictures, settings, and any other user defined settings and/or data, as well as any records associated
with such communications services used to commit drug trafficking offenses;

        11.    Records, items and documents reflecting travel for the purpose of participating in
drug trafficking activities, such as passports, airline tickets, bus tickets, vehicle rental receipts,
credit card receipts, taxi cab receipts, hotel and restaurant receipts, canceled checks, maps, and
records of long distance calls reflecting travel;

        12.     Indicia of occupancy, residency or ownership of the premises and things described
in the warrant, including utility bills, telephone bills, loan payment receipts, rent receipts, trust
deeds, lease or rental agreements, addressed envelopes, escrow documents and keys;

        13.    Photographs, videotapes or other depictions of assets, firearms, coconspirators, or
controlled substances; and

        14.    Computers, cellular telephones, or storage media used as a means to commit the
violations described above.

       15.     For any computer or storage medium whose seizure is otherwise authorized by this
warrant, and any computer or storage medium that contains or in which is stored records or
information that is otherwise called for by this warrant (hereinafter, “COMPUTER”):

               a.      evidence of who used, owned, or controlled the COMPUTER at the time
the things described in this warrant were created, edited, or deleted, such as logs, registry entries,
configuration files, saved usernames and passwords, documents, browsing history, user profiles,
email, email contacts, “chat,” instant messaging logs, photographs, and correspondence;

               b.      evidence indicating how and when the computer was accessed or used to
determine the chronological context of computer access, use, and events relating to crime under
investigation and to the computer user;

              c.      evidence indicating the computer user’s state of mind as it relates to the
crime under investigation;



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               d.      evidence of the attachment to the COMPUTER of other storage devices or
similar containers for electronic evidence;

               e.     evidence of counter-forensic programs (and associated data) that are
designed to eliminate data from the COMPUTER;

               f.      evidence of the times the COMPUTER was used;

               g.  passwords, encryption keys, and other access devices that may be necessary
to access the COMPUTER;

          h.      documentation and manuals that may be necessary to access the
COMPUTER or to conduct a forensic examination of the COMPUTER;

               i.      records of or information about Internet Protocol addresses used by the
COMPUTER;

               j.      records of or information about the COMPUTER’s Internet activity,
including firewall logs, caches, browser history and cookies, “bookmarked” or “favorite” web
pages, search terms that the user entered into any Internet search engine, and records of user-typed
web addresses;

               k.      contextual information necessary to understand the evidence described in
this attachment.

       As used above, the terms “records” and “information” includes all forms of creation or

storage, including any form of computer or electronic storage (such as hard disks or other media

that can store data); any handmade form (such as writing); any mechanical form (such as printing

or typing); and any photographic form (such as microfilm, microfiche, prints, slides, negatives,

videotapes, motion pictures, or photocopies).

       The term “computer” includes all types of electronic, magnetic, optical, electrochemical,

or other high speed data processing devices performing logical, arithmetic, or storage functions,

including desktop computers, notebook computers, mobile phones, tablets, server computers, and

network hardware.




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       The term “storage medium” includes any physical object upon which computer data can

be recorded. Examples include hard disks, RAM, floppy disks, flash memory, CD-ROMs, and

other magnetic or optical media.

       This warrant authorizes a review of electronic storage media and electronically stored

information seized or copied pursuant to this warrant in order to locate evidence, fruits, and

instrumentalities described in this warrant. The review of this electronic data may be conducted

by any government personnel assisting in the investigation, who may include, in addition to law

enforcement officers and agents, attorneys for the government, attorney support staff, and technical

experts. Pursuant to this warrant, the FBI may deliver a complete copy of the seized or copied

electronic data to the custody and control of attorneys for the government and their support staff

for their independent review.

       This warrant authorizes law enforcement personnel to: (1) press or swipe the fingers

(including thumbs) of Edwards to the fingerprint scanner of a device found at the premises; and/or

(2) hold a device found at the premises in front of Edwards’s face to activate the facial and/or iris

recognition features, for the purpose of attempting to unlock the device to search the contents as

authorized by this warrant.




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